                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                   Northern Division

 In Re:
 Davis, Anita Faye                                   Case No. 08-82841-CRJ-7
 Davis, David M.


                     Debtor(s).

                           REPORT OF UNCLAIMED FUNDS UNDER
                                BANKRUPTCY RULE 3011

         COMES NOW Tazewell T. Shepard, Trustee in the above styled case, and hereby reports
 that the following checks(s) to allowed claimants have not been presented to the proper bank for
 payment:

 Claim #         Name and Last Known Address                                             Amount

 SURPLUS         Anita Faye Davis                                                       $9,687.15
                 David M. Davis
                 5835 Underwood Mountain Road
                 Tuscumbia, AL 35674


 Pursuant to Bankruptcy Code § 347 and Rule 3011 of the Federal Rules of Bankruptcy
 Procedure, Trustee hereby files the above with the Clerk of Court, which represents a list of all
 known names and addresses of the entities and the amounts which they are entitled to be paid
 from the remaining property of the estate. Trustee has stopped payment on the above check
 remaining unpaid, and these funds are hereby paid into the court for disposition under Chapter
 129 of Title 28. An electronic payment to CLERK, U.S. BANKRUPTCY COURT –
 BIRMINGHAM, ALABAMA in the amount of $9,687.15 is submitted with the filing of this
 report.


        Dated this the 23rd day of July, 2019.

                                                    /s/ Tazewell T. Shepard, Trustee
                                                   TAZEWELL T. SHEPARD, TRUSTEE
                                                   P.O. Box 19045
                                                   Huntsville, AL 35804
                                                   (256) 512-9924




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